         Case 1:17-cv-01597-CKK Document 60 Filed 10/30/17 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JANE DOE 1, et al.,
      Plaintiffs
      v.                                                    Civil Action No. 17-1597 (CKK)
 DONALD J. TRUMP, et al.,
     Defendants


                                            ORDER
                                        (October 30, 2017)

       For the reasons set forth in the accompanying Memorandum Opinion, it is, this 30th day

of October, 2017, hereby

       ORDERED that Defendants’ [45] Motion to Dismiss is GRANTED-IN-PART and

DENIED-IN-PART. The Court will grant Defendants’ motion to dismiss Plaintiffs’ claims to

the extent they are based on the Sex Reassignment Surgery Directive, corresponding with section

2(b) of the Presidential Memorandum, as well as Plaintiffs’ estoppel claim. Defendants’ motion

to dismiss is DENIED in all other respects. It is further

       ORDERED that Plaintiffs’ [13] Motion for Preliminary Injunction is GRANTED-IN-

PART and DENIED-IN-PART. Plaintiffs’ motion for preliminary injunction is DENIED with

respect to the Sex Reassignment Surgery Directive. Plaintiffs’ motion for preliminary injunction

is GRANTED, however, in that the Court will preliminarily enjoin Defendants from enforcing

the following directives of the Presidential Memorandum, referred to by the Court as the

Accession and Retention Directives:

               I am directing the Secretary of Defense, and the Secretary of
               Homeland Security with respect to the U.S. Coast Guard, to return
               to the longstanding policy and practice on military service by
               transgender individuals that was in place prior to June 2016 until
               such time as a sufficient basis exists upon which to conclude that
               terminating that policy and practice would not have the negative
               effects discussed above.
          Case 1:17-cv-01597-CKK Document 60 Filed 10/30/17 Page 2 of 2




                Presidential Memorandum § 1(b).

                The Secretary of Defense, and the Secretary of Homeland Security
                with respect to the U.S. Coast Guard, shall . . . maintain the
                currently effective policy regarding accession of transgender
                individuals into military service beyond January 1, 2018, until such
                time as the Secretary of Defense, after consulting with the
                Secretary of Homeland Security, provides a recommendation to the
                contrary that I find convincing . . . .”

                Presidential Memorandum § 2(a).

The effect of the Court’s Order is to revert to the status quo with regard to accession and

retention that existed before the issuance of the Presidential Memorandum—that is, the retention

and accession policies established in the June 30, 2016 Directive-type Memorandum as modified

by Secretary of Defense James Mattis on June 30, 2017.

        In all other respects, the Presidential Memorandum is not enjoined. It is further

        ORDERED that Plaintiffs are not required to pay a security deposit. Fed. R. Civ. P.

65(c). It is further

        ORDERED that the parties shall file a Joint Status Report indicating how they propose to

proceed in this matter by no later than November 10, 2017.

        SO ORDERED.

                                                        /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
